                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION - DETROIT

In re:                                                     Chapter 11

HERITAGE COLLEGIATE APPAREL, INC.,                         Case No. 24-47922-tjt
f/k/a M-Den, Inc., d/b/a The M Den
                                                           Hon. Thomas J. Tucker

                  Debtor.
                                                     /

            APPLICATION TO EMPLOY CAPSTONE PARTNERS AS
           FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF
                       UNSECURED CREDITORS

         The Official Committee of Unsecured Creditors (“Committee”) of

Heritage Collegiate Apparel, Inc., f/k/a M-Den, Inc., d/b/a The M Den

(“Debtor”), for its Application to Employ Capstone Partners as Financial

Advisor to Official Committee of Unsecured Creditors (“Application”),

states:

                                 JURISDICTION AND VENUE

         1.       The Court has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334.

         2.       This is a core proceeding under 28 U.S.C. § 157(b).

         3.       Venue is proper in this district under 28 U.S.C. §§ 1408 and

1409.




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                                       BACKGROUND

         4.       On August 16, 2024, Debtor commenced a voluntary case

under Chapter 11 of Title 11 of the United States Code.

         5.       Debtor is continuing in possession of its property and is

operating and managing its business as a debtor-in-possession under 11

U.S.C. §§ 1107 and 1108.

         6.       On September 3, 2024, the United States Trustee appointed

the Committee. [ECF No. 75].

         7.       On September 9, 2024, the Committee selected Capstone

Partners (“Capstone”) to serve as financial advisor to the Committee in this

Chapter 11 case.

         8.       At the Committee’s request and in order to meet the deadlines

for motions and other matters, Capstone immediately began work on behalf

of the Committee.

                                    RELIEF REQUESTED

         9.       The Committee requests that the Court authorize it to retain

and employ Capstone as financial advisor in connection with this Chapter

11 case.




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                                     BASIS FOR RELIEF

         10.      Section 1103(a) of the Bankruptcy Code states in pertinent part:

                  At a scheduled meeting of a committee appointed
                  under section 1102 of this title, at which a majority
                  of the members of such committee are present, and
                  with the court’s approval, such committee may
                  select and authorize the employment by such
                  committee of one or more attorneys, accountants,
                  or other agents, to represent or perform services for
                  such committee.

11 U.S.C. § 1103(a).

         11.      Rule 2014 of the Bankruptcy Rules requires that an application

for retention include:

                  [S]pecific facts showing the necessity for the
                  employment, the name of the [firm] to be employed,
                  the reasons for the selection, the professional
                  services to be rendered, any proposed arrangement
                  for compensation, and, to the best of the applicant’s
                  knowledge, all of the [firm’s] connections with the
                  debtor, creditors, any other party in interest, their
                  respective attorneys and accountants, the United
                  States trustee, or any person employed in the office
                  of the United States trustee.

         A.       Necessity and Qualifications

         12.      The Committee has selected Capstone because Capstone’s

professionals have extensive experience in providing financial advisory

services in restructurings and reorganizations, having rendered these

services to debtors and creditors throughout the United States, including



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Michigan, Delaware, Ohio, Illinois, New York, California, Texas, Kentucky,

Louisiana, Pennsylvania, and Kansas.

         13.      The Committee requires the services of Capstone in order to

analyze and assess critical information, such as Debtor’s financial

projections and sale recoveries, as well as to monitor Debtor’s liquidity

through the case and begin to determine potential recovery options for

unsecured creditors.

         B.       Services to Be Provided

         14.      Capstone is expected to render financial, consulting, and

advisory services as the Committee may consider desirable. Capstone’s

services are expected to include advising the Committee and the

Committee’s other professionals with respect to:

                          i. Analysis and review of Debtor’s finances and cash flow
                             projections;

                          ii. Advising the Committee and Committee counsel with
                              respect to Debtor’s financing, reporting, sale of assets,
                              and/or plan of reorganization;

                         iii. Preparing necessary analyses;

                         iv. Appearing in Court and meetings to testify on behalf of
                             the Committee; and

                         v. To generally represent the Committee with respect to
                            these cases and related proceedings, and to assist the




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                             Committee as appropriate with respect to the matters
                             identified in 11 U.S.C. § 1103.

         C.       Professional Compensation

         15.      Capstone has indicated its willingness to serve as the

Committee’s financial advisor and receive compensation and

reimbursement in accordance with Capstone’s standard billing practices.

         16.      Capstone intends to apply to the Court for allowance of

compensation for professional services rendered and reimbursement of

charges and disbursements incurred in this Chapter 11 case in accordance

with applicable provisions of the Bankruptcy Code, Federal Rules of

Bankruptcy Procedure, Local Bankruptcy Rules, and Orders of this Court.

         17.      Capstone’s hourly billing rates for professionals are not

intended to cover out-of-pocket expenses and similar items that are

typically billed separately.

         18.      For example, Capstone regularly charges its clients for the

expenses and disbursements incurred in connection with the client’s case,

including photocopying, travel expenses, postage, express mail and

messenger charges, computerized legal research charges and other

computer services, and expenses for working meals.

         19.      Other than as set forth in this Application and in the Declaration

of Sheldon L. Stone attached as Exhibit 3, no agreement or understanding


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exists between the Committee and Capstone or any other entity for the

sharing of compensation received or to be received by Capstone for

services rendered in connection with this Chapter 11 case.

         D.       No Adverse Interest, Disinterestedness, and Disclosure of
                  Connections

         20.      To the best of the Committee’s knowledge and subject to the

disclosures set forth in the Declaration of Sheldon L. Stone attached as

Exhibit 3, the professionals of Capstone: (a) do not have any connection

with Debtor, its affiliates, creditors, the United States Trustee, any person

employed in the office of the United States Trustee, or any other party-in-

interest or their respective attorneys and accountants; (b) are “disinterested

person[s],” as that term is defined 11 U.S.C. § 101(14); and (c) do not hold

or represent an interest adverse to Debtor’s estate.

         21.      More specifically and subject to the disclosures set forth in the

Declaration of Sheldon L. Stone:

                        i. None of the professionals of Capstone hold or represent
                           an interest adverse to the Debtor’s estate.

                       ii. Neither Capstone, nor any professional of Capstone, is or
                           was a creditor, equity holder, or an insider of the Debtor.

                       iii. Neither Capstone, nor any professional of Capstone, is or
                            was, within two years before the Petition Date, a director,
                            officer, or employee of the Debtor.

                       iv. Capstone does not have any interest materially adverse


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                          to the interests of the Debtor’s estate or of any class of
                          creditors or equity security holders by reason of any direct
                          or indirect relationship to, connection with, or interest in
                          the Debtor, or for any other reason.

                                            NOTICE

         22.      Notice of this Application is being filed and sent to the United

States Trustee as required by Fed. R. Bankr. P. 2014(a) and Local

Bankruptcy Rule 2014-1(b).

         WHEREFORE, the Committee respectfully requests that the Court

enter an order, substantially in the form attached as Exhibit 1, granting the

relief requested in the Application and such additional relief as is just and

equitable.

                                              Respectfully Submitted,

                                              WOLFSON BOLTON PLLC
                                              Proposed Counsel to the Committee

Dated: September 16, 2024                     By:___/s/ Anthony J. Kochis_________
                                                    Scott A. Wolfson (P53194)
                                                    Anthony J. Kochis (P72020)
                                              3150 Livernois, Suite 275
                                              Troy, MI 48083
                                              Telephone: (248) 247-7105
                                              Facsimile: (248) 247-7099
                                              E-Mail: akochis@wolfsonbolton.com




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EXHIBIT 1


                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - DETROIT

   In re:                                                     Chapter 11

   HERITAGE COLLEGIATE APPAREL, INC.,                         Case No. 24-47922-tjt
   f/k/a M-Den, Inc., d/b/a The M Den
                                                              Hon. Thomas J. Tucker

                     Debtor.
                                                        /

       ORDER GRANTING APPLICATION TO EMPLOY CAPSTONE
    PARTNERS AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE
                   OF UNSECURED CREDITORS

            This matter having come before the Court upon The Official

   Committee of Unsecured Creditors (“Committee”) of Heritage Collegiate

   Apparel, Inc., f/k/a M-Den, Inc., d/b/a The M Den (“Debtor”) Application to

   Employ Capstone Partners as Counsel for the Official Committee of

   Unsecured Creditors (“Application”)1 and the Declaration of Sheldon L.

   Stone filed in support of the Application; the Court having found that: (a)

   jurisdiction to consider the Application is proper under 28 U.S.C. §§ 157

   and 1334; (b) venue is proper before this Court under 28 U.S.C. §§ 1408

   and 1409; (c) notice of the Application was properly provided; and (d) good

   cause exists to grant the relief requested in the Application; and the Court


   1
     Capitalized terms used but not defined have the meanings given to them
   in the Application.

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being fully advised in the premises and having determined that the legal

and factual bases set forth in the Application establish just cause for the

relief granted herein;

         IT IS HEREBY ORDERED that:

        1.        The Application is granted.

        2.        The Committee is authorized to employ Capstone Partners as

financial advisor consistent with the terms of the Application.

        3.        Capstone Partners shall be compensated for its services as

authorized by the Court.

        4.        This Order is immediately effective.

        5.        The Court retains jurisdiction over all matters related to the

implementation of this Order.




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EXHIBIT 3



                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION - DETROIT

  In re:                                                   Chapter 11

  HERITAGE COLLEGIATE APPAREL, INC.,                       Case No. 24-47922-tjt
  f/k/a M-Den, Inc., d/b/a The M Den
                                                           Hon. Thomas J. Tucker

                     Debtor.
                                                     /

              DECLARATION OF SHELDON L. STONE IN SUPPORT
           OF APPLICATION TO EMPLOY CAPSTONE PARTNERS AS
            FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF
                        UNSECURED CREDITORS

           I, Sheldon L. Stone, declare:

           1.        I am a Managing Director with Capstone Partners (“Capstone”).

           2.        I am familiar with the facts in this Declaration and make this

  Declaration in Support of the Application.2

           3.        Unless otherwise stated, this Declaration is based upon my

  personal knowledge.

           A.        Services to Be Provided

           4.        In connection with this Chapter 11 case, the Committee has

  requested Court authorization to retain Capstone as financial advisor.


  2
   Capitalized terms used but not defined in this Declaration have the
  meanings given them in the Application to Employ Capstone Partners as
  Financial Advisor to Official Committee of Unsecured Creditors.


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         5.       The professional services that Capstone will render to the

Committee may include, but will not be limited to, those described in the

Application.

         B.       Professional Compensation

         6.       The Committee was formed on September 3, 2024 and

Capstone was retained by the Committee on September 9, 2024. Capstone

immediately commenced work on behalf of the Committee.

         7.       Capstone intends to apply for compensation for professional

services rendered in connection with the Chapter 11 case.

         8.       Subject to approval of this Court and in compliance with

applicable provisions of the Bankruptcy Code, Federal Rules of Bankruptcy

Procedure, Local Bankruptcy Rules, and orders of this Court, Capstone will

charge the Committee on an hourly basis and seek reimbursement of

actual, necessary expenses and other costs and expenses that Capstone

incurs.

         9.       Capstone’s hourly rates are set at a level designed to fairly

compensate Capstone for the work of its professionals.

         10.      Capstone’s hourly rates vary with the experience and seniority

of the individuals assigned.

         11.      Capstone’s hourly rates are:



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                  Sheldon L. Stone            $650

                  David Rychalsky             $650

                  Brian Phillips              $550

                  Erik Morandi                $450

         12.           Capstone’s hourly rates in this case are consistent with the

rates it charges in bankruptcy and non-bankruptcy matters.

         13.      Capstone reserves the right to increase its hourly rates in

accordance with its normal and customary practices, which is typically

January 1st of each year.

         14.      Capstone’s policy is to charge its clients for expenses incurred

in connection with the client’s case.

         15.      The expenses charged to clients include photocopying, travel

expenses, postage, express mail and messenger charges, computerized

legal research charges and other computer services, and expenses for

working meals.

         16.      Capstone will charge the Committee for these expenses in a

manner and at rates consistent with those Capstone generally charges its

other clients.

         17.      No promises have been received by Capstone or by any

professional of Capstone regarding compensation in connection with this



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Chapter 11 case, other than in accordance with the provisions of the

Bankruptcy Code.

         18.      Pursuant to Fed. R. Bankr. P. 2016(b), Capstone has not

shared, nor agreed to share, any compensation it has received or may

receive in these cases with any other party, person, or entity other than

with the professionals of Capstone.

         C.       Capstone’s Disinterestedness

         19.      Capstone has conducted a conflict check, through a search of

its client database, inquiry to each professional at Capstone, and the

Control Room at Capstone’s parent Huntington National Bank regarding its

connections with Debtor and other parties in interest.

         20.      A search of Capstone’s client database, and search by

Huntington National Bank is designed to reveal any representation of, or

potential conflict with, the entity searched or any known subsidiary or

affiliate.

         21.      This search was as complete as reasonably possible under the

circumstances, but Capstone recognizes that additional parties in interest

may become involved in Debtor’s Chapter 11 case.

         22.      Based on the results of the conflict searches conducted to date,

to the best of my knowledge, neither I, Capstone, nor any member or



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employee of Capstone, insofar as I have been able to ascertain, has any

connection with the Debtor, their creditors, or other parties-in-interest

except as follows:

              a. Capstone was engaged by The Bank of Ann Arbor in December

                  of 2023 to investigate merchant cash advance activity with

                  respect to Debtor. Capstone’s engagement with The Bank of

                  Ann Arbor ended on February 26, 2024.

         23.      Capstone is a “disinterested person” as that term is defined in

11 U.S.C. § 101(14) because neither Capstone nor any of its professionals:

                  a.      is a creditor, an equity security holder, or an insider of the
                          Debtor;

                  b.      was, within two years before the date of filing of Debtor’s
                          Chapter 11 case, a director, officer, or employee of
                          Debtor; or

                  c.      has an interest materially adverse to the interests of
                          Debtor’s estate or of any class of creditors or equity
                          security holders, by reason of any direct or indirect
                          relationship to, connection with, or interest in, Debtor, or
                          for any other reason.

         24.      As part of its diverse practice, Capstone appears in numerous

cases, proceedings, and transactions involving many different

professionals, including attorneys, accountants, investment bankers, and

financial consultants, some of which may represent claimants and parties-

in-interest in this Chapter 11 case.


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         25.      In addition, Capstone has worked with or against, and will likely

in the future work with or against, other professionals involved in this

Chapter 11 case in matters unrelated to this Chapter 11 case.

         26.      Based on my current knowledge of the professionals involved in

this Chapter 11 case, none of these business relationships constitute

interests materially adverse to the Debtor.

         27.      If this Court approves the proposed employment of Capstone

by the Committee, Capstone will not accept any engagement or perform

any services for any entity or person other than the Committee in

connection with this Chapter 11 case without prior Court approval.

         28.      Capstone may, however, provide professional services to

creditors of Debtor in matters unrelated to this Chapter 11 case.

         29.      Capstone believes that Capstone is disinterested within the

meaning of 11 U.S.C. § 101(14).

         30.      As parties become known or make appearances in this case,

Capstone will supplement its disclosures as appropriate.

         31.      To the best of my knowledge as of the date of this Declaration,

Capstone’s conflict check has not revealed the existence of any matters

potentially adverse to the interests of the Debtor except as stated in this

Declaration and the Application.



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         32.      Capstone will periodically review its files during the Chapter 11

case to ensure that no disqualifying circumstances arise.

         33.      If any relevant facts or relationships are discovered or arise,

Capstone will promptly file a supplemental declaration pursuant to Fed. R.

Bankr. P. 2014(a).




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         I declare under penalty of perjury that the foregoing is true and

correct.

Dated: September 16, 2024                            _/s/ Sheldon L. Stone_____
                                                     Sheldon L. Stone
Executed in Birmingham, Michigan




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